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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

VLADEK FILLER                                )
                                             )
                 Plaintiff,                  )
v.                                           )       CIVIL ACTION
                                             )       CASE NO. 1:15-cv-00048-JAW
HANCOCK COUNTY, et al.,                      )
                                             )
                                             )
                 Defendants                  )




     STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO 41(a)(1)(A)(ii)

       NOW COME all appearing parties in the above-captioned litigation and Stipulate to the
Dismissal of all claims with prejudice, and without costs or attorney’s fees, against the City of
Ellsworth, John DeLeo, Chad Wilmot, the Town of Gouldsboro, and the Estate of Guy Wycoff.



                                                     /s/ David Weyrens
Dated: 8/15/18                                       ____________________________________
                                                     Thomas F. Hallett, Bar No. 3142
                                                     David A. Weyrens, Bar No. 4035
                                                     Attorneys for Plaintiff
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                                                     PH: 207-775-4255

                                                     /s/ Peter Marchesi
Dated: 8/15/18                                       ____________________________________
                                                     Peter Marchesi, Bar No. 6889
                                                     Cassandra Shaffer, Bar No. 9721
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                                          /s/ John Wall
Dated: 8/15/18                            ____________________________________
                                          John Wall, Bar No. 7564
                                          Attorney for Estate of Guy Wycoff
                                          Monaghan Leahy, LLP
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                                          /s/ Kasia Park
Dated: 8/15/18                             ____________________________________
                                           Edward Benjamin, Bar No. 2924
                                           Kasia Park, Bar No.
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